   Case 3:18-cr-03677-W Document 81 Filed 07/23/19 PageID.739 Page 1 of 2




                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         JUL 23 2019
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS


UNITED STATES OF AMERICA,                        No. 19-50242

                  Plaintiff-Appellee,            D.C. No. 3:18-cr-03677-W
                                                 Southern District of California,
  v.                                             San Diego

DUNCAN D. HUNTER,                                ORDER

                  Defendant-Appellant.



       A review of the record suggests that this court may lack jurisdiction over the
appeal because the district court’s order, denying appellant’s motion to dismiss the
indictment, entered on July 9, 2019, is not appealable as a final judgment or an
order that comes within the collateral order doctrine. See 28 U.S.C. § 1291;
Midland Asphalt Corp. v. United States, 489 U.S. 794, 798 (1989) (stating that
finality requirement generally “prohibits appellate review until after conviction and
imposition of sentence”).
       Within 21 days after the date of this order, appellant shall move for
voluntary dismissal of the appeal or show cause why it should not be dismissed for
lack of jurisdiction. If appellant elects to show cause, a response may be filed
within 10 days after service of the memorandum.




DV/AppComm Direct Criminal
   Case 3:18-cr-03677-W Document 81 Filed 07/23/19 PageID.740 Page 2 of 2




       Failure to comply with this order may result in the dismissal of the appeal
for failure to prosecute. See 9th Cir. R. 42-1.
       Briefing is suspended pending further order of the court.




                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: David J. Vignol/Deputy Clerk
                                                  Ninth Circuit Rule 27-7




DV/AppComm Direct Criminal                2                                   19-50242
